               Case 21-11868-RAM         Doc 40    Filed 05/28/21     Page 1 of 3




                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTEHRN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

In re:                                                         CASE NO. 21-11868-RAM
                                                               CHAPTER 13
ANA MARIA JOHNSON,

         Debtor.
                                             /

   OBJECTION TO MOTION FOR REFERRAL TO MORTGAGE MODIFICATION
                                         MEDIATION
         HMC ASSETS, LLC SOLELY IN ITS CAPACITY AS SEPARATE TRUSTEE OF

COMMUNITY DEVELOPMENT FUND I TRUST (“Secured Creditor”), by and through its

undersigned attorney, hereby objects to the Attorney-Represented Debtor’s Verified Motion for

Referral to Mortgage Modification Mediation (“Motion”)(DE 38), and in support thereof states

as follows:

    1. The Debtor filed a Chapter 13 Bankruptcy Petition on February 26, 2021.

    2. Secured Creditor maintains a security interest in Debtor's real property located at 7212

         SW 149th Court, Miami, FL 33193 (the “Property”), secured by a Note and Mortgage

         (the “Loan”) executed by the Debtor, as evidenced by Proof of Claim #3.

    3. On May 27, 2021, the Debtor file the Motion regarding the Property.

    4. Pursuant to the Court’s ruling at the hearing held on May 11, 2021, the Debtor was

         directed not to file the Motion on an ex parte basis, but instead request a hearing be

         scheduled on the motion.

    5. The Court has scheduled a hearing on the Motion for 6-15-21.

    6. Secured Creditor objects to the Motion and believes that the Debtor is attempting to use
                 Case 21-11868-RAM      Doc 40     Filed 05/28/21    Page 2 of 3




       the court’s mediation program in an attempt to delay the pending State Court foreclosure

       action.

   7. Prior to the filing of this pending Bankruptcy Action, the Debtor agreed entry of a Final

       Judgment of Mortgage Foreclosure in the State Court foreclosure action and executed a

       stipulated agreement. Among other things, the Debtor agreed to take no action to hinder

       or delay the completion of the foreclosure action, including the filing of Bankruptcy. A

       copy of the Stipulation for the Entry of Consent In Rem Final Judgment of Mortgage

       Foreclosure is attached hereto as Exhibit A. During the course of negotiating the terms of

       the stipulated agreement, the Debtor did not at all request to be reviewed for loan

       modification.

   8. Secured Creditor previously reviewed the Debtor for modification, prior to the entering

       into he stipulation agreement, however, the Debtor did not qualify for modification of the

       Note and Mortgage at that time. A copy of the issued Denial Letter is attached hereto as

       Exhibit B.

       WHEREFORE, Secured Creditor, HMC ASSETS, LLC SOLELY IN ITS CAPACITY

AS SEPARATE TRUSTEE OF COMMUNITY DEVELOPMENT FUND I TRUST, respectfully

requests that this Court enter an order denying the Attorney-Represented Debtor’s Verified

Motion for Referral to Mortgage Modification Mediation, and such other relief as the Court

deems just and proper.
              Case 21-11868-RAM         Doc 40     Filed 05/28/21    Page 3 of 3




                                                   Respectfully submitted,
                                                   HOWARD LAW GROUP

                                                   /s/ Matthew Klein
                                                   MATTHEW KLEIN
                                                   FLORIDA BAR#: 73529
                                                   4755 Technology Way, Suite 104
                                                   Boca Raton, FL 33431
                                                   Telephone: (954) 893-7874
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                                                   Email: matthew@howardlawfl.com


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 28, 2021, I electronically filed the foregoing with
the Clerk of Court by using the CM/ECF System, which will send a notice of electronic filing to
all CM/ECF participants:

Christian J. Olson, Esq., 8551 Sunrise Blvd., Suite 208, Plantation, FL 33322

Nancy K. Neidich, POB 279806, Miramar, FL 33027

Office of the US Trustee, 51 S.W. 1st Ave., Suite 1204, Miami, FL 33130

And a true and correct copy was mailed to:

Ana Maria Johnson, 7212 SW 149th Ct, Miami, FL 33193


                                                    /s/ Matthew Klein
                                                    MATTHEW KLEIN
                                                    FLORIDA BAR#: 73529
